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October 23, 2023

Via ECF
United States District Court of New Jersey
Mitchell H. Cohen Building & U.S. Courthouse
4th & Cooper Streets Room 1050
Camden, NJ 08101

               Re:     Case Name: ROTHSCHILD PATENT IMAGING, LLC v. H&M
                       SYSTEM SOFTWARE, INC.
                       Case Number: 1:22-cv-01161-NLH-AMD

Dear Sir or Madam:

        In response to the notice generated on October 3, 2023, regarding the potential dismissal
of the above case without prejudice pursuant to Fed.R.Civ.P. 4(m), Plaintiff respectfully requests
that the case not be dismissed at this time. Plaintiff has discovered a new address for service upon
the corporate Defendant. Therefore, Plaintiff respectfully requests a new Summons be issued by
the Clerk and if Plaintiff cannot successfully serve the Complaint at this new address within a
reasonable amount of time, dismissal would then be appropriate. Thank you for your consideration
of this matter.




                                                             Respectfully Yours,



                                                             Mark A. Kriegel
